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                                              FMS Post O4L9f7.txt
I just got back fnom a heaning in a court case involving Fneenet, With the exception of a few (3?) documents
that ane still sealed, the govennment's documentation on the attack is now public record, as is the hearing
itself. The tnanscript has not yet been published, (it is expected to take two weeks) but I took notes.
The eanlien Reddit discussion thread about the paper on a li4issouri police depantment attack that leaked due
to a misconfigured Shanepoint instance is hene:
http s : / /www . reddit . com/ r/ F neenet/ comment s /4ebw9w/mo re_infonmat ion_on_1aw_enforcement s_fneenet/

t^/ith that in mind, as a matten of public necond, I can confirm:
* In Septembet 2077, Special Investi8aton Wayne Becken with the Missouni ICAC Task Fonce started collectin8
publicly available keys of child ponnognaphy. Initially the investigation only considened top-Ievel manifest
blocks, but when they found that to be ineffective they fetched the splitfile and considered all blocks of
the file. That has been expanded into an automated process which nuns daily and scnapes keys from Frost
child porn boands. As of the Iast time SI Becker checked, there are 75k manifest blocks and L70 million
split keys in this database. They call these Files of Intenest.
* Starting Ap"iL 20L2, Iaw enfoncement has been nunning modified Freenet nodes which connect to opennet.
Initially this was anywhere fnom 1 to 8 nodes, they Iogged _al1 nequests and insents_ they obsenved to CSV5,
and nan thnough most of 2014, Those logs have been netained. This was with a patch developed by people at
the University of Massachusetts Amhenst,
+ In winten 2014, the university neseanchens developed an impnoved vension which only logs nequests for
blocks fnom Files of Interest. It can optionally, defaulting to disabled, forge DataNotFound nesults fon FoI
blocks, Thene ane around 30 of these nodes nunningr and have been fon two years now.
x When the attack produces results which indicate, in the police's judgement, that a node is probably
requesting child pornognaphy, they will fetch the file in question, verify its contents, and netain the
file.
* Dn, Brian Levine is part of the team that developed the impnoved attack. He made an analogy about
distnibuting M&Ms among a noom of people that went something like:
> one penson stants with a bag of 100 M&Ms, someone chooses a people to give them to, split roughly evenly
between. Each of them do the same until each penson has M&Ms. Someone neceiving 25, if they know the
starting M&M count and the number of people the penson giving them M&Ms is splitting thein l4&Ms between, can
evaluate the pnobability that the person giving M&Ms is the one holding the bag.
Hene an M&M is a request fon a block, and the attack allows making a prediction as to whether the node that
sent the request is nequesting the entine file or just nelaying nequests. To do this it uses knowledge of
the total size of the file in question from the collection of keys, and the peer count of the peen - sh a ned
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by default. ("Sha11 we send oun peens' locations to oun peens? Doing so helps routing but gives some
infonmation away to a potential attacker." unden ConfiB > core in advanced mode.) It companes the received
nequest count to a model which assumes unifonm nequest distnibution. They ran simulations, and claim to have
established a false positive rate of 2% because they ran it against HTL 16 requests and it gave a positive
nesult 2% of the time. (Even though an HTL 16 request indicates the node sending the nequest is neven the
oniginaton given default settings.) I am not convinced this is a valid way to establish a false positive
nate. These nequests ane one hop mor e diffuse, so they are not nepnesentative of the leve1 of diffusion
pnesent in the actual nequests they use it on. I'm not clean on the distnibution of distances nequests can
be expected to have been probably routed fon a given HTL; that would be nelevant here.
* Using this technique they have penfonmed, eithen with a seanch wanrant or with consent., over 5A seanches
in the US and Canada.
Here's a document I used as a source fon some of this: an Affidavit Referral Nannative. [0] (Search count
fnom page 2 #13.) I redacted the section on specifics to the case out of respect fon the defendant, but the
bnoad stnokes are:

1. An "undencoven _Fneenet_ node" noutes requests from a node for blocks fnom an FOI, and logs them.
2. Laten analysis on logged nequests suggests the peen in question was the oniginator.
3. Thnough an IP geolocation check (for jurisdiction) and an lSP subpoena the police obtain a name and
address.
4. Police file for a warrant, telling the judge the "number and timing of the requests was significant
enough to indicate that the IP addness was the apparent oniginal requesten of the fiIe." It is my opinion
that the wanrant affidavit does not give enough infonmation fon a judge to independently assess the
neasonability of this concl-usion.
5, Knock knock.
If people cane I can go through and nedact the things specific to the defendant more pnecisely; it was
easier to draw two big nectangles, (I might also be persuaded to bother to figure out how to redact PDFs
pnopenly, but for the time being I'm tnying to get this posted quickly and imagemagick is easy.)

The defense will move to unseal one of the documents. Fon those who have PACER access the case number is
'4:16-cn-258 CEJ (NAB)-. AIso it tunns out some cans' black boxes necord GPS location information.

t0l
CHK@06eT - w4owvlSdj fiwB rb5Ses0I Pct^lcd E IgPE6aKxwAl'l, 7wL - t cj u7F kwbkGu FTCl6uYylcWxc LHlHTonhoIvYws , AAMC - - 8/ na rrat   iv
                                                                Page 2
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e-0.png
CHK@R77 s92-OzfjMD6yAVd92-y9 k ka 51BHaf8 LVpF K5HE Eg, 03 5 2b5ygyndTK - CAVI nVzC Rx 3 h KZ 6U61og p3 5 oT P B 2A, AAMC - - 8/na r nat    iv
e-1.png
CHK@jMPyWLeUQztSHt5 cPzW48goy9xwd IwTmXa s c8QkdDZ8, zHaj D4SkJ 1Zu bYogzXs 8h R!']c UDSEVh RC38B0nkH47dQ, AAMC - - 8/ na nrat              iv
e-2.png
CHK@RI KlxSaYc2ps K kvx-Se4EAbvttYj QTj q 2g2M10SmMyc, nhT8AD-gs iW0khJE I91nc HxveBul E b5vos IvB - uDLYqQ, AAMC - - 8/ na         nnativ
e-3. png
CHK@Akupw149t21A50aMSDNI P0dvoh sP47I hD9u - sMeDXxg, S LXJ 5 spldTDfid]-TD4VievxZ9ksUmeltXmSbXg4rVUQ,                AAMC - - 8/ na nnat   iv
e-4. png
CHK@NK30gKnbeqMPWIlQWoN L9n zdfVNKwXwoWoQSh nDhgPM, KY7IgYNV3 n IYyBFfi FSzaITFydfZpLUQIj kN nbgFd lw, AAI4C - - 8/na r rat                 iv
e- 5. png

nepIyl:
So, the advice is to disable peen count shaning?
reply2:
f4y guess based on this, I'm looking fonward to neading the papen, is
that they wonk on the simple basis of amount of nequests going through
the node.
I think thein method makes sense to a centain degnee. If you know the
approximate distribution of peers and the numben of peens a node has
you can to some extent say how many blocks you would expect to see if
that node nequests a known file.
This would, in my neasoning, be offset by the possibility of sevenal
people nequesting the file at the same time and shaning peers, but
since the dnop off of requests per hop is proportional to an
exponential function of the numben of peens each hop in the chain has
it could probably paint a rather good picture.
A small thought expeniment ignoning link length distnibution and
assuming even distnibution of blocks (I assume we can ignone the Iink
length distnibution since it would only add some pnoportionality
facton based on my own location and the peen's location. ):
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                                                  FMS Post O41-9L7.txt

Node A: 5A pee rs
Node B: 40 peers
LEA: 20 pee rs

A11 thnee nodes are connected to each othen.

If Node A nequests a file with 100 blocks, ignoring link length
distnibution, both node B and LEA should expect to see about
Number F11e Blocks / Numben peers      L00 / s0     2

nequests from node A. LEA should then see about

2/4@-o(-         is appnoximately )
fnom node B that have been fonwanded fnom Node A. LEA will pnobably
see about 0 blocks fonwanded fnom Node B since it has 40 peens to
choose fnom when fonwarding the blocks anothen step.

If we assume the following connection chain:
Node A -> Node B -> LEA, with the same peen count and ignor ing link
length distribution.
To make Node B appean to be requesting a file      that Node A is
nequesting a would have to send:
(Fi1e block number / Node B peen count) * Node A peer count * Node B peen count =2+5O*4Q=4O0O
requests, since 4 040 nequests distnibuted evenly over Node A's peers
would nesult in Node B getting about 80 nequests to distribute evenly
oven its peers nesulting in LEA getting the same nesult of about 2
blocks.

If we assume that Node B has 39 * Node A as neighbours and the LEA
node (40 total neighbouns), it would nequine pnetty much all the
                                                         Page 4
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                                            FMS Post O4!9t7.txt
neighbouns nequesting the file at the same time to make it appear to
the LEA node as if the file was being requested by Node B.
I'm only guessing, but if I were to attack Freenet I would neason
something like this and then do some simulations with Iink length
distribution and come up with a good metnic. We']] see if I'm
completely off when that papen Iands.




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